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FILED

 

ELIZABETH A, STRANGE
First Assistant United States Attorney

District of Arizona ZOIBMAY 30 PM 3:25

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United States Courthouse DISTRICT OF ARIZONA

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Tucson, Arizona 85701

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Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, C R LL 8

Plaintiff,
Violations:
VS. 18 U.S.C. § 242
Deprivation of Rights Under Color of

aw
Matthew Bowen, (Count 1)

Defendant. 18 U.S.C, § 1519

Falsification of Records in Federal
Investigations

(Count 2)

    

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INDICTMENT

 

 

 

THE GRAND JURY CHARGES:

COUNT 1

On or about December 3, 2017, in Nogales, in the District of Arizona, defendant
MATTHEW BOWEN, while employed as a United States Border Patrol Agent and acting
under color of law, willfully deprived A.L.-A. of the right, secured and protected by the
Constitution and the laws of the United States, to be secure in his person against
unreasonable seizures, which includes the right to be free from the use of excessive force

by one acting under color of law. Specifically, BOWEN assaulted A.L.-A. through the use

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of a dangerous weapon by intentionally striking A.L.-A. with a motor vehicle, resulting in
bodily injury to A.L.-A.
All in violation of Title 18, United States Code, Section 242.

COUNT 2

On or about December 12, 2017, in Nogales, in the District of Arizona, the
defendant, MATTHEW BOWEN, knowingly made a false entry in a document, with the
intent to impede, obstruct, and influence the investigation and proper administration of a
matter within the jurisdiction of the United States Department of Homeland Security,
Office of Inspector General. Specifically, BOWEN submitted supplemental memorandum
to the Chief Patrol Agent of the Tucson Sector regarding the events of December 3, 2017,
in which he falsely stated that he was not sure if his vehicle had contacted A.L.-A. and that
he never intended to strike, scare or otherwise come in to contact with A.L.-A.

All in violation of Title 18, United States Code, Section 1519.

A TRUE BILL
/s/

Presiding Juror

 

ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

‘s/

Assistant U.S. Attorney
Dated: REDACTED FOR

PUBLIC DISCL Og} ine
WAY 30 2018

United States of America v. Matthew Bowen
Indictment Page 2 of 2

 

 
